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11

12
                              UNITED STATES BANKRUPTCY COURT
13
                               CENTRAL DISTRICT OF CALIFORNIA
14
                                SAN FERNANDO VALLEY DIVISION
15
     In re:                                      Case No. 1:17-bk-12434-MT
16
                                                 Chapter 7
17   ROBIN DIMAGGIO,
                                                 Adv. No. _____________________
18                        Debtor.
     __________________________________
19                                               COMPLAINT FOR:
     KRASIMIR DACHEV, an individual,
20   PEACE FOR YOU PEACE FOR ME, a               (1) DENIAL OF DEBTOR’S DISCHARGE
     non-profit foundation organized under the       [11 U.S.C. § 727]
21   laws of Bulgaria, and SVILOSA AD, a
     Joint Stock Company organized under the     (2) DETERMINATION THAT DEBT IS NON-
22   laws of Bulgaria,                               DISCHARGEABLE
                                                     [11 U.S.C. §§ 523(a)(2)(A), 523(a)(2)(B),
23                            Plaintiffs,            523(a)(4), 523(a)(6)]
24      v.                                       [Status Conference Date to be Set by Court-Issued
25   ROBIN DIMAGGIO,                             Summons]

26                            Defendant.
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 1           Plaintiffs Krasimir Dachev, Peace For You Peace For Me and Svilosa AD (“Plaintiffs”)
 2   allege as follows:
 3                                     JURISDICTION AND VENUE
 4           1.       Pursuant to 28 U.S.C. §§ 1334 and 157 and the General Order of the United States
 5   District Court of the Central District of California referring all matters relating to bankruptcy to
 6   the bankruptcy judges, this Court has jurisdiction over this adversary proceeding, which arises in
 7   and relates to the above-captioned case under Title 11 and arises under Title 11. This adversary
 8   proceeding is a “core” proceeding, which this Court may hear and determine, within the meaning
 9   of 28 U.S.C. §§ 157(b)(2)(A), (I), (J) and (O).
10           2.       Venue for this adversary proceeding properly lies in this judicial district pursuant
11   to 28 U.S.C. § 1409.
12           3.       This Court has jurisdiction to adjudicate the issues raised in this adversary
13   proceeding by virtue of 28 U.S.C. § 1334.
14                                              THE PARTIES
15           4.       Plaintiff Peace for You, Peace for Me Foundation (the “Foundation”) is a private
16   non-profit foundation registered under Bulgarian law and was formed to organize and hold a
17   charity concert in Bulgaria for displaced children from conflict zones (the “Charity Event”).
18           5.       Plaintiff Krasimir Dachev (“Dachev”) is a resident of Sofia, Bulgaria and was a
19   sponsor of the Foundation.
20           6.       Plaintiff Svilosa AD (“Svilosa”) is a publicly traded Joint Stock Company listed
21   on the Bulgarian Stock Exchange and was the primary investor in the Foundation and the Charity
22   Event. (The Foundation, Dachev and Svilosa are sometimes referred to collectively as
23   “Plaintiffs.”)
24           7.       Defendant Robin DiMaggio (the “Debtor” or “Dimaggio”) is a resident of Los
25   Angeles County, California and the Chief Executive Officer of DiMaggio International, Inc.
26   (“DMI”). On information and belief, the Debtor, DMI’s sole owner, exercised complete
27   domination and control over DMI, with such a unity of interest and control between him and his
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 1   company that they cannot be construed as two separate entities or parties under the law. Thus, all
 2   actions or omissions herein attributable to one are equally attributable to the other.
 3          8.      Plaintiffs are informed and believe and thereon allege that the Debtor and DMI
 4   knowingly and willingly conspired and agreed to undertake the unlawful actions and omissions
 5   alleged herein in furtherance of the common design alleged below.
 6                                  BACKGROUND AND SUMMARY
 7          9.      This action involves a Los Angeles session musician and purported concert
 8   promoter who deceived and defrauded Bulgarian charity organizers of over $1,000,000 under the
 9   false pretext that he could and would use that money to secure celebrity musicians for a charity
10   concert. After he took the money he demanded, he failed to secure the promised celebrities,
11   pocketed the money for himself and caused the collapse of the concert, causing damages to
12   Plaintiffs of over $4.5 million. After he was sued for his wrongdoing, he produced in discovery
13   forged bank statements and forged check receipts in an effort to conceal his fraud. Then, after his
14   company filed for bankruptcy protection earlier this year, he committed perjury at a creditors’
15   meeting, falsely claiming he did not use the approximate one million dollars Plaintiffs wired to
16   his company’s bank account for personal expenditures. The real statements produced by his bank
17   show that he transferred all of that money directly into his personal bank account within hours of
18   each wire. None of these uses or transfers were disclosed in his Bankruptcy Schedules and
19   Statement of Financial Affairs filed in this action (“Schedules”). His fraud on Plaintiffs, on the
20   Superior Court and the bankruptcy estate provide grounds on which to deny discharge pursuant to
21   11 U.S.C. § 727 and to declare that the Debtor’s debt to Plaintiffs is non-dischargeable under 11
22   U.S.C. § 523(a).
23          10.     Plaintiffs were organizers and/or investors in a planned charity concert event
24   (“Charity Event”) that was to have taken place on October 1, 2016 in Sofia, Bulgaria. The goal of
25   the Charity Event was to provide financial aid and attention to homeless and displaced children in
26   or from conflict zones and centered around a planned, internationally-televised concert of famous
27   musician celebrities.
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 1           11.     Around May 2016, DiMaggio, a session drummer and musician, represented to
 2   Plaintiffs that he was an American music promoter with major connections in the music industry,
 3   and had the expertise and ability to obtain commitments from famous musician celebrities to
 4   perform at the Charity Event; he also provided Plaintiffs with a written list of over 150 famous
 5   musician celebrities from which Plaintiffs could “pick.” Based on his representations, Plaintiffs
 6   and DMI entered into written agreements in which DiMaggio would secure these celebrities and
 7   be compensated later from commissions that would be applied against the celebrity contracts he
 8   secured.
 9           12.     Starting around June 2016 and through August 2016, DiMaggio demanded a series
10   of large payments from Plaintiffs, purportedly to use as “deposits” for the celebrity contracts he
11   claimed he would obtain. In reliance on DiMaggio’s representations, Plaintiffs paid over
12   $1,000,000 to DMI for this ostensible purpose. Pursuant to the parties’ written agreements, these
13   funds were to be placed in an escrow account and were to be fully refundable if DiMaggio did not
14   secure the promised contracts.
15           13.     As it turned out, DiMaggio did not have the expertise, ability or intention to secure
16   the promised celebrities and, in fact, never secured a single celebrity artist for the Charity Event.
17   DiMaggio also did not open the promised escrow account in which Plaintiffs’ money was
18   supposed to have been held, nor did he use the monies to secure celebrity artists, instead keeping
19   Plaintiffs’ money in his own bank accounts. By early September 2016, when it became apparent
20   that DiMaggio could not and would not fulfill his contractual obligations for the Charity Event
21   (then less than four weeks away), Plaintiffs demanded the return of their money, pursuant to their
22   written agreements. DiMaggio repeatedly refused, first under the pretext that he had given these
23   monies to artists’ agents to secure their performances and was “waiting” for “refunds,” and then
24   under the pretext that he needed to keep the money to organize a future charity event with
25   Plaintiffs, even though there was and is no agreement for such an event.
26           14.     In addition to the approximate $1,000,000 of Plaintiffs’ money that DiMaggio has
27   refused to return, Plaintiffs also incurred substantial liabilities relating to the Charity Event in
28   reliance on DiMaggio’s representations. Such liabilities include approximately $2,500,000
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 1   expended as deposits and/or payments for artists, hosts, hotels, airfare, stage and lighting vendors
 2   and other service providers, and approximately $1,000,000 of unpaid contractual obligations
 3   associated with those expenditures.
 4          15.     Based on the fraud alleged above, on December 27, 2017, Plaintiffs filed an action
 5   against the Debtor and DMI in the Los Angeles County Superior Court for, among other things,
 6   fraud, breach of contract and conversion. See Dachev v. DiMaggio et al., Case No. BC 645027
 7   (the “State Court Action”). That same day, DMI filed a separate action against Plaintiffs in the
 8   Los Angeles County Superior Court for, among other things, breach of contract. See DiMaggio
 9   International Inc. v. Peace For You et al., Case No. LC104988.
10          16.     On June 12, 2017, DMI filed a voluntary petition for relief under chapter 7 of the
11   Bankruptcy Code. See In re DiMaggio International Inc., Case No. 1:17-bk-11560-VK (the
12   “DMI Bankruptcy”). During discovery against the Debtor in the State Court Action, and as
13   described more fully below, the Debtor produced falsified DMI bank records and check receipts
14   in an effort to cover up his personal taking of the monies Plaintiffs wired to DMI.
15          17.     On September 12, 2017, the Debtor filed protection voluntary petition for relief
16   under chapter 7 of the Bankruptcy Code, commencing the above-captioned bankruptcy case. On
17   October 20, 2017, at the §341(a) meeting of creditors in the DMI Bankruptcy, the Debtor (as the
18   sole owner and representative testifying on behalf of DMI) falsely testified that he did not
19   personally use the approximately million dollars Plaintiffs wired to the DMI account. The
20   unaltered records produced by the bank show that, every time Plaintiff wired money to the DMI
21   account, the Debtor immediately transferred that money directly into his personal bank account,
22   as described more fully below.
23                                     FACTUAL ALLEGATIONS
24          18.     Around early 2016, Dachev and Svilosa decided to help organize and invest in a
25   charity concert to help homeless and displaced children in world conflict zones. In furtherance of
26   this effort, they formed under Bulgarian law the non-profit Foundation, through which an all-day
27   charity concert event, patterned after 1985’s Live-Aid or 2010’s Hope for Haiti Now, would be
28   organized and internationally televised on October 1, 2016.
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 1          19.     In late May 2016, DiMaggio engaged in communications with the Foundation and
 2   its representatives, claiming that he was a well-known session drummer to celebrity artists and the
 3   “Musical Director of the United Nations” and could, through the celebrity connections he claimed
 4   to have developed in his years in the entertainment industry, procure commitments from
 5   numerous celebrity musicians to perform at the Charity Concert within the 16-week period before
 6   it was to take place. Around this time, DiMaggio sent Plaintiffs an “Artist Acquisitions Roster”
 7   listing over 150 well-known musician celebrities from which Plaintiffs were to “pick,” including
 8   but not limited to Adele, Stevie Wonder, Mick Jagger, Mariah Carey, Justin Timberlake, Rihanna,
 9   Lady Gaga, Maroon 5 and Snoop Dogg. Around June 6, 2016, DiMaggio represented to
10   Plaintiffs that he had received a “verbal yes” from Mick Jagger to perform at the Charity Event.
11   He also claimed in an interview broadcast on Bulgarian television that he had discussed the
12   Charity Event with Rod Stewart, Slash, Bruno Mars and Justin Timberlake.
13          20.     Based on DiMaggio’s representations to Plaintiffs, around June 7, 2016, the
14   Foundation and DMI entered into an “Engagement Binder” which provided, among other things,
15   that all artist fees advanced by Plaintiffs would be “returned” at the “option” of the Foundation if
16   an artist was “not available” or did not agree to the final contract offer approved by the
17   Foundation. A true and correct copy of this Engagement Binder is attached hereto as Exhibit A
18   and incorporated herein.
19          21.     Around the latter half of June 2016, DiMaggio demanded the payment of funds
20   pursuant to the Binder Agreement, writing to Plaintiffs with claims such as “Rod Stewart gave me
21   a verbal yes so we are starting contracts with him. He will be flying from London. We have
22   already ‘officially’ Sir Mick Jagger, Earth, Wind & Fire, Sir Rod Stewart and . . . KISS!”
23   Plaintiffs complied with DiMaggio’s funding request and sent him the monies he requested.
24          22.     Around July 7, 2016, DiMaggio represented to Plaintiffs that he had received
25   verbal confirmations to perform from Johnny Depp, Earth Wind and Fire, Slash, Bruno Mars and
26   Justin Timberlake, but that, unless Plaintiffs sent him more money immediately, the artists would
27   be lost. In reliance on DiMaggio’s representations, around July 14, 2016, Plaintiffs sent
28   DiMaggio another $150,000 as he had demanded to retain Mick Jagger and Earth, Wind and Fire.
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 1   The invoice for this payment, like the Binder Agreement, stated that the monies tendered by
 2   Plaintiffs would be “returned” at the “option” of the Foundation if an artist was “not available” or
 3   did not agree to the Foundation’s contract offer. A true and correct copy of this invoice (“Artist
 4   Invoice”) is attached hereto as Exhibit B and incorporated herein.
 5          23.     Around late July 2016, DiMaggio wrote to Plaintiffs that he had “confirmed”
 6   various additional artists for the Charity Event, including Blondie, The Beach Boys and Roger
 7   Waters of Pink Floyd, and conveyed specific details related to each artist’s supposed contract
 8   requirements, including Jennifer Lopez’s and Robbie Williams’ alleged demands for a private jet
 9   to and from Bulgaria, travel requirements for each artist’s personnel and the specific amount of
10   money each artist supposedly required for a deposit. He asked Plaintiffs for their “green light” on
11   Jennifer Lopez, Robbie Williams and Don Henley of the Eagles so he could get “the legal done . .
12   . ready to go finally.” DiMaggio, however, claimed that, in order for him to proceed with
13   securing these artists, he would need another $750,000, in addition to the approximate $258,000
14   that Plaintiffs had already transferred to him. Relying on DiMaggio’s representations and claims
15   that he was on the verge of finalizing contracts with these artists and “ready to go,” around
16   August 4, 2016, DMI and the Foundation entered into a written agreement (“August Contract”)
17   which provided for Plaintiffs’ payment of another $750,000 within 5 days into an independent
18   escrow account.
19          24.     The August Contract provided that such funds were to be used only for future
20   celebrity contracts and that if DiMaggio did not secure an acceptable list of celebrity contracts,
21   the monies would “be repaid in full to Purchaser in the first banking day following the end of the
22   term [defined as October 3, 2016].” It also provided that the Foundation would have final
23   approval as to all artist contracts and that DiMaggio’s remuneration would be obtained from
24   commissions applied against future payments, after the closing of artist contracts. A true and
25   correct copy of the August Contract is attached hereto as Exhibit C and incorporated herein.
26          25.     Shortly after the August Contract was executed, DiMaggio wrote to Plaintiffs that
27   he was “unable” to open the required escrow account within the 5-day payment period. Instead of
28   offering that Plaintiffs defer their payment until he opened the required escrow account,
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 1   DiMaggio claimed that the money had to be paid immediately, lest he lose the artists with whom
 2   he was supposedly on the verge of contracting. Relying on DiMaggio’s representations, Plaintiffs
 3   sent the entire $750,000 to the DMI bank account.
 4          26.     DiMaggio never opened the promised escrow account and immediately transferred
 5   this $750,000 from the DMI bank account to his personal bank account, just as he had done with
 6   the $258,000 that Plaintiffs had previously sent to the DMI account.
 7          27.     Despite the receipt of this additional $750,000 that was supposedly needed
 8   immediately, DiMaggio did not secure a single celebrity contract and did not provide any
 9   comprehensible explanation as to why he could not open the escrow account in which Plaintiffs’
10   funds were supposed to have been placed. By the latter half of August 2016, and after three
11   months of empty promises, Plaintiffs, suspecting something was wrong, began looking for
12   celebrity artists without DiMaggio’s assistance, spending significant resources in the process.
13          28.     On August 22, 2016, Plaintiffs asked in writing for the return of their money,
14   pursuant to the written terms to which the parties had agreed. In response, DiMaggio first
15   claimed that Plaintiffs’ right to reimbursement could not occur until “everyone returns the
16   deposits.” Plaintiffs, however, had not approved any celebrity contracts (of which there were
17   none) through which a deposit could have been lawfully tendered. Subsequently, on August 25,
18   2016, DiMaggio represented that he did not want to return any monies at all, so he could instead
19   use that money to secure artists for a 2017 concert that the parties had briefly discussed.
20   Plaintiffs, however, had no agreement with DiMaggio for any 2017 concert and the idea was
21   quickly abandoned by Plaintiffs, in part due to their increasing suspicions of DiMaggio’s
22   trustworthiness.
23          29.     In September 2016, less than four weeks from the Charity Event and without
24   DiMaggio having secured a single celebrity contract, Plaintiffs made additional written demands
25   for the return of their money. DiMaggio refused those demands, and as of this date has refused
26   all subsequent requests for the return of the $1,008,300 and has refused to provide any
27   explanation or accounting for these monies.
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 1          30.     On information and belief: (a) at no time did DiMaggio have any of the celebrity
 2   “commitments,” verbal or otherwise, he claimed to have been given, and his numerous emails to
 3   Plaintiffs to the contrary were knowingly false and intended to induce Plaintiffs to give him more
 4   money; (b) DiMaggio’s claims that he used Plaintiffs’ monies for celebrity “deposits” were
 5   knowingly false, and there is no documentation of any unreturned money given as a deposit to
 6   secure any celebrity contract; (c) DiMaggio’s repeated demands for payments, usually made on
 7   the cusp of phony news about a celebrity “almost” ready to commit, were intentionally deceptive
 8   and made for the sole purpose of extracting monies from Plaintiffs; (d) at no time did DiMaggio
 9   intend to open the escrow account he promised because he wanted to keep Plaintiffs’ money for
10   himself; and (e) at no time did DiMaggio believe that he could or would secure the celebrities he
11   promised within the short amount of time before the Charity Event.
12          31.     Plaintiffs have since discovered that DiMaggio has been alleged to have engaged
13   in the same pattern of deceptive behavior as alleged herein to dupe other, unsuspecting
14   philanthropists and/or investors. In the pending case of Natwick v. Kelley, et al., Case No.
15   BC615001, California Superior Court for the County of Los Angeles (filed March 24, 2016), an
16   elderly investor alleges that DiMaggio committed fraud and elder abuse by taking over $117,000
17   of his money under false promises that he would help organize a “Save the Rainforest” concert
18   that was allegedly to have been seen by over one billion viewers but which never materialized. In
19   the pending case of Forum Entertainment Group, Inc. v. DiMaggio et al., Case No. BC520593,
20   California Superior Court for the County of Los Angeles (filed September 6, 2013), an investor
21   alleges that DiMaggio demanded a series of large payments to secure various celebrity artists for
22   a for-profit concert, but after taking the money, never secured any of the promised artists and
23   refused to return plaintiff’s money.
24          32.     As a result of DiMaggio’s acts and omissions as alleged herein, and in reliance on
25   DiMaggio’s false and deceptive representations, Plaintiffs (a) lost $1,008,300 of refundable
26   payments tendered to DiMaggio; (b) made deposits and/or payments for artists, hosts, hotels,
27   airfare, stage and lighting vendors and other service provider contracts totaling another
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 1   $2,500,000; and (c) carry another $1,000,000 of payment obligations under these contracts. The
 2   total damage caused by Defendant therefore exceeds $4,500,000.
 3          33.     After Plaintiffs filed the State Court Action against DiMaggio based on the above
 4   alleged wrongdoing, the Debtor produced discovery documents through which he attempted to
 5   show what he did with Plaintiffs’ money, including an email chain, which he also filed with a
 6   pleading in the Los Angeles Superior Court, purportedly suggesting that his “fee” as of August
 7   2016 had “reached” $450,000. On information and belief, this email chain was a forgery: the
 8   alleged August 12, 2016 email to K. Dachev contains no space between the month and the date (it
 9   reads “August12”) (this line is normally auto-generated by an email server, not manually entered
10   by an author) and has a space in the middle of the header (between the “date” line and the “to”
11   line) which is not found in auto-generated headings. The alleged August 13, 2016 email reply
12   from Dachev to DiMaggio contains a “date” field (“Date: Aug 13, 2016 9:43 AM”) which uses
13   the U.S. style of date designation (month, calendar date, year), but the other emails sent to
14   DiMaggio from this Bulgarian email address use the European style of date and time designation
15   (calendar date, month, year) (for example: “Sent: Thu, 04 Aug 2016 09:52:44 +0300”). The text
16   of this alleged email is also underlined in its entirety, which is inconsistent with other similarly
17   addressed emails.
18          34.     Debtor also produced in the State Court Action a copy of an alleged receipt for a
19   July 14, 2016 $600,000 bank check made payable to A.E.I., a purported booking agency. This
20   supposed receipt was similarly suspicious because it was dated before Plaintiffs had given him
21   funds from which to make any such payment. In an effort to show that DMI had money for this
22   check before it had been paid by Plaintiffs, the Debtor then produced in the State Court Action a
23   purported July 2016 “bank statement” for DMI that supposedly showed a balance of
24   approximately $715,000, from which DMI supposedly issued the alleged $600,000 check.
25          35.     These documents were forgeries too. The real bank check containing the same
26   payee, serial number and date as that in DiMaggio’s “bank receipt” was for $10,000, not
27   $600,000. As for the purported July 2016 DMI “bank statement” that DiMaggio produced to try
28   to show that he had money for the alleged $600,000 check, the real bank statements produced by
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 1   the bank reveal that DiMaggio (a) deleted the “$36.89” checking summary at the top of the
 2   statement and replaced it with “------”; (b) changed the real beginning monthly balance of
 3   “662.41” to a fake balance of $715,662.41; and (c) inserted a fraudulent entry dated July 14
 4   which reads “07/14 WITHDRAWAL 600,000.00.”
 5          36.      In short, the Debtor forged DMI documents in December 2016 that he produced in
 6   discovery and filed with the court in the State Court Action. When confronted with the fact that
 7   these documents looked fake and made no sense, he then forged more documents (altered banks
 8   statements) to cover up his prior fraud.
 9          37.      During his forgery-making, and on information and belief, DiMaggio intentionally
10   deleted all emails and metadata relating to the State Court Action to destroy further evidence of
11   his wrongdoing and refused a stipulated inspection of his computer.
12          38.      On September 12, 2017, based on the forged documents discussed above,
13   Plaintiffs filed and hand-served a Motion for Terminating Sanctions in the State Court Action
14   against the Debtor. Several hours later, on that same day, the Debtor filed this bankruptcy case,
15   approximately three months after DMI filed its bankruptcy petition.
16          39.      On October 2, 2017, the Debtor, as the sole owner of DMI, appeared at the
17   § 341(a) meeting in the DMI Bankruptcy. At the § 341(a) meeting, the Debtor testified, under
18   oath, that he did not take money out of the DMI account for his personal benefit other than
19   expenditures for attorney fees. This was false. According to the statements produced by DMI’s
20   and Debtor’s bank, all of the approximate $1 million that Plaintiffs wired to the DMI bank
21   account had been immediately transferred to the Debtor’s personal bank account or withdrawn by
22   him within hours of each wire:
23                o Early 2016 – DMI bank account carries an average balance of less than $300
24                o June 21 and 27, 2016 – the Foundation wires approximately $20,000 to the DMI
25                   bank account. On June 27, 2016, Debtor makes 5 withdrawals from the DMI bank
26                   account totaling $17,287.
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 1                o July 5, 2016: the Foundation wires approximately $15,000 to the DMI bank
 2                   account. On that same day, the Debtor withdraws $13,000 from the DMI bank
 3                   account and deposits it into his personal bank account.
 4                o July 6 and 14, 2016: the Foundation wires $155,555 to DMI account. On July 14,
 5                   2016, the Debtor withdraws $155,600 from the DMI bank account and deposits it
 6                   into his personal bank account.
 7                o July 21, 2016: the Foundation wires $53,300 to the DMI account. On that same
 8                   day, the Debtor withdraws $53,251 from the DMI bank account and deposits it
 9                   into his personal bank account.
10                o August 5, 2016: the Foundation wires $750,000 to the DMI account. On August
11                   8, 2016, the Debtor withdraws $750,000 from the DMI bank account and deposits
12                   it into his personal bank account.
13          40.      Of the approximate one million dollars of Plaintiffs’ money the Debtor took from
14   the DMI account, he spent (a) $150,000 to fund another one-man company called DiMagic
15   Entertainment, Inc. (“DiMagic”) that continued operations after he closed DMI on September 10,
16   2016; said account, which was in the Debtor’s exclusive control and for his exclusive benefit,
17   remained open and with a six-figure balance through March 2017; and (b) $251,370 to open an
18   escrow account on or around August 22, 2016, with him as the beneficiary, with Santa Clarita
19   Valley Escrow (a residential home escrow company). From June 2016 through October 31, 2016,
20   he used the rest of the approximate million dollars Plaintiffs wired to the DMI account to fund a
21   series of other personal withdrawals, charges and expenditures from his personal bank account, so
22   that by October 31, 2016, the balance in his personal bank account had dropped from a high
23   exceeding $750,000 to less than $2,000, which the Debtor has not accounted for.
24          41.      The Schedules filed by the Debtor in this bankruptcy case do not disclose any of
25   the transfers or balances described above or the existence of the DiMagic Entertainment, Inc.
26   account or the Debtor’s ownership of DiMagic Entertainment or any purchase associated with the
27   funds transferred to Santa Clarity Valley Escrow.
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 1                                     FIRST CLAIM FOR RELIEF
 2                             (Nondischargeability – 11 U.S.C. § 727(a)(2))
 3          42.      Plaintiffs incorporate the above paragraphs as though fully set forth herein.
 4          43.     The Debtor should be denied a discharge under § 727(a)(2)(A) because, “with
 5   intent to hinder, delay, or defraud a creditor or an officer of the estate charged with custody of
 6   property under this title, [he] has transferred, removed, destroyed, mutilated, or concealed, or has
 7   permitted to be transferred, removed, destroyed, mutilated, or concealed property of the debtor,
 8   within one year before the date of the filing of the petition,” including, without limitation,
 9   concealing the money he took from DMI, his ownership interest in DiMagic, and the funds
10   transferred to Santa Clarita Valley Escrow or the property or other asset purchased with those
11   funds (the “Concealed Assets”).
12          44.     The Debtor should be denied a discharge under § 727(a)(2)(B) because, “with
13   intent to hinder, delay, or defraud a creditor or an officer of the estate charged with custody of
14   property under this title, [he] has transferred, removed, destroyed, mutilated, or concealed, or has
15   permitted to be transferred, removed, destroyed, mutilated, or concealed property of the estate,”
16   including, without limitation, concealing the Concealed Assets in his pleadings and testimony.
17                                   SECOND CLAIM FOR RELIEF
18                             (Nondischargeability – 11 U.S.C. § 727(a)(3))
19          45.     Plaintiffs incorporate the above paragraphs as though fully set forth herein.
20          46.     The Debtor should be denied a discharge under § 727(a)(3) because he has
21   “concealed, destroyed, mutilated, falsified, or failed to keep or preserve any recorded information,
22   including books, documents, records, and papers, from which the debtor’s financial condition or
23   business transactions might be ascertained,” including, without limitation, by creating the
24   falsified bank records described above and failure to account for the funds transferred to Santa
25   Clarity Valley Escrow or the proceeds of such funds.
26                                     THIRD CLAIM FOR RELIEF
27                             (Nondischargeability – 11 U.S.C. § 727(a)(4))
28          47.     Plaintiffs incorporate the above paragraphs as though fully set forth herein.
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 1          48.      By filing materially false Schedules and by providing false testimony as alleged
 2   herein including, without limitation, false testimony and Schedules regarding the Concealed
 3   Assets, the Debtor should be denied a discharge because he knowingly and fraudulently “made a
 4   false oath or account” under § 727(a)(4)(A).
 5          49.      By filing materially false Schedules and by providing false testimony as alleged
 6   herein including, without limitation, withholding information and documents in his testimony and
 7   Schedules regarding the Concealed Assets, the Debtor should be denied a discharge because he
 8   “withheld from an officer of the estate entitled to possession under this title, any recorded
 9   information, including books, documents, records, and papers, relating to the debtor’s property or
10   financial affairs” under § 727(a)(4)(D).
11                                    FOURTH CLAIM FOR RELIEF
12                             (Nondischargeability – 11 U.S.C. § 727(a)(5))
13          50.      Plaintiffs incorporate the above paragraphs as though fully set forth herein.
14          51.      The Debtor should be denied a discharge under § 727(a)(5) because he “has failed
15   to explain satisfactorily, before determination of denial of discharge under this paragraph, any
16   loss of assets or deficiency of assets to meet the debtor’s liabilities,” including, without limitation,
17   failing to account for the Concealed Assets.
18                                     FIFTH CLAIM FOR RELIEF
19                (Determination that Debt Not Dischargeable - 11 U.S.C. § 523(a)(2)(A))
20          52.      Plaintiffs incorporate the above paragraphs as though fully set forth herein.
21          53.      The representations and actions of the Debtor, including but not limited to those
22   relating to (a) the alleged use of Plaintiffs’ monies for celebrity contract deposits; (b) the celebrity
23   “commitments” or “confirmations” by Earth, Wind and Fire, Slash, Bruno Mars, Justin
24   Timberlake, The Beach Boys, Roger Waters, Jennifer Lopez and Robbi Williams, among others;
25   (c) the alleged inability to open an escrow account as required by the August Contract; (d) the
26   repeated claims of the need for additional monies to secure celebrity artists; (e) the alleged ability
27   and intention to secure the celebrities required for the Charity Event in time for the October 1,
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 1   2016 concert date; (f) the personal use of the approximate $1,000,000 that was sent to DMI’s
 2   bank account, were knowingly false when made and intended to induce Plaintiffs to act thereon.
 3          54.      Plaintiffs reasonably and justifiably relied on the misrepresentations and deceit of
 4   the Debtor and had no reason to believe that the Debtor was defrauding them.
 5          55.      As a proximate result of the Debtor’s misrepresentations and deceit, Plaintiffs have
 6   sustained damages in excess of $4.5 million, plus interest, attorney fees and costs.
 7          56.      The Debtor performed these acts and omissions with malice, fraud and oppression
 8   and is therefore liable to Plaintiffs for punitive damages pursuant to Civil Code § 3294.
 9          57.      As a result of the Debtor’s false pretenses, false representations and/or actual
10   fraudulent acts described above, the Debtor’s indebtedness to Plaintiffs is nondischargeable under
11   11 U.S.C. § 523(a)(2).
12                                     SIXTH CLAIM FOR RELIEF
13                  (Determination that Debt Not Dischargeable - 11 U.S.C. § 523(a)(4))
14          58.      Plaintiffs incorporate the above paragraphs as though fully set forth herein.
15          59.      The Debtor’s indebtedness to Plaintiffs alleged herein arose from fraud or
16   defalcation while acting in a fiduciary capacity, embezzlement, or larceny including, without
17   limitation, the Debtor’s defalcation of his written promise to place Plaintiffs’ money in an escrow
18   account and to hold Plaintiffs’ money pending certain conditions and return the funds to Plaintiffs
19   upon request. As a result, the Debtor’s wrongful actions constituted fraud and/or defalcation
20   while acting in a fiduciary capacity.
21          60.      As a direct and proximate result, Plaintiffs have sustained damages in excess of
22   $4.5 million, plus interest, attorney fees and costs.
23          61.      The Debtor performed these acts and omissions with malice, fraud and oppression
24   and is therefore liable to Plaintiffs for punitive damages pursuant to Civil Code § 3294.
25          62.      The Debtor’s indebtedness to Plaintiffs is nondischargeable under 11 U.S.C.
26   § 523(a)(4).
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 1                                      SEVENTH CLAIM FOR RELIEF
 2                  (Determination that Debt Not Dischargeable - 11 U.S.C. § 523(a)(6))
 3          63.       Plaintiffs incorporate the above paragraphs as though fully set forth herein.
 4          64.      The acts and omissions alleged herein constitute willful and malicious injury by
 5   the Debtor to Plaintiffs and, therefore, constitute grounds for a determination that his debt to
 6   Plaintiffs is not dischargeable.
 7          65.      The Debtor’s indebtedness to Plaintiffs is nondischargeable under 11 U.S.C.
 8   § 523(a)(6).
 9                                      ATTORNEY FEES AND COSTS
10          66.      Plaintiffs incorporate the above paragraphs as though fully set forth herein.
11          67.      As a direct result of the Debtor’s conduct, Plaintiffs have been required to retain
12   the services of Steinbrecher & Span LLP of Los Angeles, California, to prosecute this action on
13   their behalf. Plaintiffs are entitled to recover their costs and reasonable attorney fees incurred for
14   the prosecution of this action.
15

16          WHEREFORE, Plaintiff prays for Judgment against the Debtor as follows:
17          1.       A denial of the Debtor’s discharge pursuant to 11 U.S.C. § 727(a);
18          2.       A determination by this Court that the above-alleged indebtedness owed to
19   Plaintiffs is non-dischargeable pursuant to 11 U S.C. §§ 523(a);
20          3.       Judgment against Debtor for all damages caused, including the sum in excess of
21   $4.5 million, plus accrued legal interest thereon;
22          4.       For punitive damages against Debtor and in favor of Plaintiffs;
23          5.       Judgment for Plaintiffs’ costs and expenses, including reasonable attorney fees and
24   costs; and
25   //
26   //
27   //
28   //
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 1          6.     For such further relief as the Court may deem just and proper.
 2

 3   Dated: November 28, 2017             STEINBRECHER & SPAN LLP
                                          ROBERT S. SPAN
 4                                        DOUGLAS R. PAINTER
 5                                        and
 6                                        LESNICK PRINCE & PAPPAS LLP
                                          MATTHEW A. LESNICK
 7

 8

 9                                        By:           /s/ Matthew A. Lesnick
                                                             Matthew A. Lesnick
10
                                              Attorneys for Plaintiffs KRASIMIR DACHEV,
11                                            PEACE FOR YOU PEACE FOR ME and
                                              SVILOSA AD
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